Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document    Page 1 of 10
Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document    Page 2 of 10
Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document    Page 3 of 10
Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document    Page 4 of 10
Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document    Page 5 of 10
Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document    Page 6 of 10
Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document    Page 7 of 10
Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document    Page 8 of 10
Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document    Page 9 of 10
Case 4:04-bk-04721-BMW   Doc 90 Filed 10/22/04 Entered 10/22/04 16:29:08   Desc
                         Main Document   Page 10 of 10
